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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 18-1430V
                                       Filed: April 10, 2019
                                          UNPUBLISHED


    TATIANA DAUTKHANOVA and
    RUSLAN DAUTKHANOV, on behalf of
    E.D., a Minor Child,                                      Special Processing Unit (SPU);
                                                              Ruling on Entitlement; Concession;
                         Petitioner,                          Table Injury; Influenza (Flu) Vaccine;
    v.                                                        Vasovagal Syncope

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Danielle Strait, Maglio Christopher & Toale, PA, Seattle, WA, for petitioner.
Alexis B. Babcock, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

        On September 19, 2018, petitioners filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”) on behalf of their daughter, E.D. Petitioners alleges that E.D. received
an influenza (“flu”) vaccination on December 9, 2017, and thereafter suffered from
vasovagal syncope and dental factures. Petition at 1-2. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On April 8, 2019, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, respondent concluded that compensation is appropriate Id. at 3.
Respondent further agrees that petitioners have met the statutory requirements for
entitlement to compensation. Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
